Case 3:17-cr-00622-FAB

Document 1003-1 Filed 05/25/18 Page 1 of 2

3:17-cr-00622(FAB) USA v. MEDINA-RIVERA et al

GROUPS G and H

Attendance Sheet - Status Conference 5/25/2018

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dft. Defendant SIGNATURE
70_| Christopher J. Nieves-Perez _ ~~ fh.
71 Jean C. Torres-Soto Diana Lope#-Feliciano
72 Daniel F. Velez-Ortiz Edgar L. Sanchez-Mercado (excused) I-77
73 Felix J. Alvarado-Ortega Juan A. Albjno- Gonzalez -\— WA a
74 Juan F. Velez-Cedeno rem mar i LE nh
75 Jorge L. Negron-Cruz Francisco J. Ortis-Gareia’t (Lege No a
76 | Jose L. Jimenez-Candelario / | P,
77 Luis A. Monzon-Ocasio Hector J. Dauhajre-Rodriguez\
78 Jose M. Oyola Ian Carlos Garcia-Ferreras , c
Lf a

79 Jose A. Robles-Santiago Luis A. Rodriguez-Munoz (excused)

; , a aw
80 Emanuel Rivera-Alvarez Jose B. Velez-Goveo——f —_ 7 >-(_*~-9
81 Jovanni Torres-Lopez aN /
82 | Jaime J. Valentin-Rodriguez / j \
83 Hector X. Ortiz-Errazo Johnny Rivern-Ganzaten\, WL _
84 Angelita Bravo-Garcia Robert Millan (iv ue
85 | Angel A. Jimenez-Candelario
86 Luis A. Ortiz-Olivera Saul Roman- -Santiage WY Ue
88 | Fernando Montanez-Garcia Luz M. Rios-Rosario # Cy 4
89 Brandon J. Cruz-Verges ML C7
90 Rolando Cotto-Ortega Marta T. Rey-Cacho (exeused) I-07
91 Hector Quintana-Figueroa | Emilio F. Morris-Rosa LEE =

 

 

 

 

 
Case 3:17-cr-00622-FAB

Document 1003-1 Filed 05/25/18 Page 2 of 2

 

David J. Colon-Almenas Me

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

92 Juan C. Perez-Rivera

93 Jose C. Mojica-Torres Rosa Bonini Sy SAL a

94 Hector Mendez Israel O. te LIfe
95 Jean C. Del Valle-Rosa Julio Cesar Alejandro So
96 Jeremy A. Barreto-Berrios | David Ramos: Pazar=l\W “a i =P
97 Juan L. Reca-Santiago Jose Arce-Diaz (excysed)

98 Gabriel Sedeno-Aponte Eq. Renin

99 Jose A. Ortiz-Olivera Eduardo Ferrer 4

100 Felix J. Ortiz Jose G. Perez ie YEE ZB

101 Nasain Ortiz-Nieves Diego H. Ateata < 7. 0: Aol, _

102 Roberto C. Rosa-Perez Yassmin Gonzalez oe JZ LL 2 Zi LEP LEB Z

103 Pedro Alvino-Colon &

104 Carlos J. Santos-Velez

 

 

 

 

 

 
